Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 1 of 18 - Page ID#: 213




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

  UNITED STATES OF AMERICA,                           )
                                                      )
        Plaintiff,                                    )        No. 6:21-CR-27-REW-HAI
                                                      )
  v.                                                  )
                                                      )           OPINION & ORDER
  JOHN MADISON MEADOWS                                )
   and ERICA LYNN GRUBB,                              )
                                                      )
        Defendant.
                                         *** *** *** ***

        This matter comes before the Court on Magistrate Judge Ingram’s Recommended

 Disposition regarding a motion to suppress evidence uncovered during a vehicle search. DE 43.

 Defendant John Meadows has filed objections to the Magistrate Judge’s findings and petitions the

 Court to overturn the ruling. DE 44. The United States filed a response in support of the

 recommendation. DE 47.

        Having thoroughly reviewed the full record, to include the hearing transcript (DE 46) and

 all briefing, the Court finds the evidence properly subject to suppression. The Court thus

 GRANTS DE 31 and REJECTS DE 43. The Officer at issue measurably extended an initially

 valid traffic stop beyond appropriate temporal limits. He did so without reasonable suspicion. The

 resulting consent occurred during an improper seizure, not a consensual encounter. Further, this is

 but one instance of the Officer’s standard and intentional practice of tagging stop-elongating

 consent requests onto the end of traffic stops. The Court finds exclusion appropriate in light of the

 Fourth Amendment violation here and the Officer’s flawed and systemic approach.




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Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 2 of 18 - Page ID#: 214




                                           I.     Background
        Defendant John Meadows faces two counts: (1) conspiracy to distribute 500 grams or more

 of a mixture or substance containing a detectible amount of methamphetamine, in violation of 21

 U.S.C. § 846; and (2) possession with intent to distribute 500 grams or more of a mixture or

 substance containing a detectible amount of methamphetamine, in violation of 21 U.S.C. §

 841(a)(1). DE 1. Erica Grubb is co-defendant on both.

        Meadows, later joined by Grubb without objection, filed a motion to suppress 1.5 pounds

 of methamphetamine discovered during a traffic stop. DE 31. The government responded in

 opposition. DE 38. On referral, Judge Ingram conducted an evidentiary hearing, at which the Court

 heard brief arguments from both sides and testimony of sole witness Officer Robinson regarding

 his stop and search of the defendants’ car. DE 41, 46.

        No one questions Judge Ingram’s recitation of the facts, accurate as always. The Court

 accepts that description, and adds any facts of consequence:

         Officer Joey Robinson, who joined the London police force in late 2018, was patrolling I-

 75 one night when he encountered the defendants. DE 46, at 9, 12. John Meadows was driving an

 orange Pontiac G6 on I-75 South when, around 12:56 a.m., Robinson stopped the car for “having

 only one headlight illuminated.” DE 31-1 at 1; DE 31 at 2. Erica Grubbs was in the passenger seat

 at the time of the stop. DE 31 at 2. When Robinson reached the driver’s side of the car, he noted

 that Meadows exhibited “extreme nervousness,” that he observed “[Meadows’s] carotid artery . .

 . pulsating,” and that Meadows “[c]ouldn’t really sit still in the seat.” DE 46 at 13. After obtaining

 routine documents from Meadows, Officer Robinson then asked him to exit the vehicle and step

 toward the back of the car. Id. at 14. Robinson testified that he asked Meadows to step out of the

 car for safety reasons. Id. at 29. As Meadows and Robinson walked toward the back of the car,

                                                   2
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 3 of 18 - Page ID#: 215




 Meadows volunteered that a hypodermic syringe lay in his pocket and that he was diabetic. Id. at

 14. Meadows then offered to let Robinson retrieve the syringe, which Robinson did. Id.

        Continuing toward the back area of the car, Robinson discussed the headlight violation

 with Meadows and soon determined to issue him only a verbal warning for the violation. Id. at 16.

 At this point, the men were behind the Meadows car and separated by several feet. Robinson was

 the lone officer on scene. Id. at 17. Robinson told Meadows of the verbal warning and then handed

 Meadows’s documents back to him. Without pausing, Robinson then launched into a discussion

 of drug trafficking issues along I-75. Id. at 17 (“Q: [A]fter you gave the documents back, then

 what, if anything did you say to Mr. Meadows?; A: I discussed the drug trafficking up and down

 I-75.”); id. at 30 (referencing his discussion as “Usually I explain to people that, you know,

 Interstate 75, especially southbound, there’s a lot of drugs that travel down 75 from the bigger

 cities”); see also id. at 24 (“Q: [After returning the documents, d]id you tell him he was free to

 go?; A: I did not.”). Following the exchange regarding drugs on the highway, Robinson testified

 to the following: “[I] asked [Meadows] if anything was inside the vehicle. He stated no. And then

 I asked for consent to search the vehicle. He stated, ‘Search the whole vehicle.’” Id. at 17. Robinson

 proceeded to search and ultimately found the methamphetamine that supports the Indictment.

        Robinson’s approach that night was no one-off. He engages in the described post-stop spiel

 “[q]uite often” after “a minor traffic stop” on I-75. Id. at 37. Robinson considers the interstate to

 feature a “high volume” of drug crimes. Id. at 11. He called this “procedure where you give a

 warning, give the documents back, and ask for consent to search the vehicle” something he does

 “regularly.” Id. at 18-19. His recitation of the trafficking problem on the corridor is “[t]o make

 people aware . . . And then if I ask for consent, they’ll know why I’m giving it, instead of just

 catching them off guard.” Id. at 37. Importantly, Robinson’s work focus is the area of I-75. He

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Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 4 of 18 - Page ID#: 216




 makes twenty stops per week. Id. at 9. Robinson estimates that he’s given forty-two courtesy

 notices this year. Further, he reports that twenty-five of the persons he has put through the consent

 colloquy have denied him consent. Robinson did not estimate the number of searches his approach

 has produced. In his view, the stopped person is, at the point of consent, free to leave and the

 consent discussion is merely a “consensual encounter” between him and the citizen. Id. at 31; see

 also id. at 30 (“Q: After they’re free to leave, you then go into this practice where you tell them

 about drug trafficking [on the highway] and then ask for consent to search the car?; A: Yes”).

        A few additional notes of prominence: Robinson viewed the syringe on Meadows as being

 somewhat suspicious. He had encountered this before, a person carrying a lone syringe and

 claiming to be diabetic. Such a scenario, which Robinson had seen “several” times, had not proven

 authentic. Instead, the persons citing diabetes had actually been in possession of drugs. Id. at 14-

 15. The record contains nothing regarding Robinson’s training and only the few anecdotal and

 unquantified nuggets from Robinson’s experience. The Court observes that Robinson, under oath,

 did not view the situation as creating reasonable suspicion of criminal activity: “I wouldn’t call it

 reasonable suspicion, but a level of suspicion.” Id. at 29; 36 (“I wouldn’t say that the syringe

 brought reasonable suspicion[.]”). Finally, the entire event (stop to consent) happened over just a

 few minutes. Robinson estimated he had obtained consent within “three to four minutes.” Id. at

 18.

        Judge Ingram found that Robinson did have adequate cause, under Terry standards, to

 extend the stop briefly for the purpose of obtaining consent. DE 43 at 8. He also rejected any

 suppression basis, under the Leon/Davis/Herring rubric. Id. at 12-13. The defense objected to both

 findings. The United States, in its first brief of detail, DE 47, supported the recommendation and




                                                  4
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 5 of 18 - Page ID#: 217




 also attempted to present a non-seizure, consensual encounter theory. The Court reviews the matter

 de novo.

                                      II.      Standard of Review
        The standard of review for district courts when reviewing a report and recommendation is

 found in 28 U.S.C. § 636. When objections are raised to the magistrate judge’s report, the district

 court “shall make a de novo determination of those portions of the report or specified proposed

 findings or recommendations to which objection is made.” 28 U.S.C. § 636(b)(1); Rule 59(b)(3).

 The district court may then “accept, reject, or modify, in whole or in part, the findings or

 recommendations made by the magistrate judge.” § 636(b)(1).

                                             III.   Discussion


        Defendants filed a motion to suppress all evidence discovered and seized during the search

 of their vehicle. The motion argues that Robinson measurably extended Meadows’s detention

 following the completion of the mission of the traffic stop, while lacking reasonable suspicion of

 criminal activity. DE 44. The Court agrees.

                                            a. Scope of the Traffic Stop
        The first step in this inquiry is to determine the scope of the initial traffic stop, to gauge

 whether that scope was exceeded. A traffic stop qualifies as a seizure and thus is subject to the

 constitutional requirements of the Fourth Amendment. See United States v. Bell, 555 F.3d 535,

 539 (6th Cir. 2009). An officer may legally stop a car when probable cause exists to believe that a

 traffic violation has occurred. United States v. Sanford, 476 F.3d 391, 394 (6th Cir. 2007). The

 parties do not contest that Robinson had probable cause to stop the vehicle because Meadows was

 driving at night with only one headlight illuminated. DE 43.



                                                    5
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 6 of 18 - Page ID#: 218




        During a traffic stop, all the officer’s actions must reasonably relate to the purpose of the

 original stop to fall within its scope. See Bell, 555 F.3d at 541. An officer may permissibly conduct

 “ordinary inquiries incident to the traffic stop.” Illinois v. Caballes, 125 S. Ct. 834, 837 (2005).

 Such inquiries usually encompass things like checking a driver’s license, querying for wants and

 warrants, and inspecting automobile registration or proof of insurance. See Rodriguez v. United

 States, 135 S. Ct. 1609, 1615 (2015). However, the Court indicated that even a minor action taken

 by a police officer in furtherance of a “general interest in criminal enforcement” must, if it extends

 the timing of the stop, be independently supported by individualized suspicion. Id. at 1616; see

 also United States v. Lott, 954 F.3d 919, 924 (6th Cir. 2020). The critical inquiry to identify a

 Fourth Amendment violation asks, “at what point in time did the purpose of the traffic stop end

 and the detention of the driver . . . begin?” United States v. Torres-Ramos, 536 F.3d 542, 550 (6th

 Cir. 2008).

        Officer Robinson pulled over the Pontiac, asked Meadows for his documentation, and

 requested that Meadows exit toward the back of the car. Robinson testified that he could not recall

 whether he ran a search on Defendant’s driver’s license or license plate number but did recall

 surrendering Meadows’s documents to him while standing near the rear of the vehicle. DE 46 at

 28, 16. Per the Officer’s own testimony, this was the point at which the original mission of the

 traffic stop concluded; Officer Robinson communicated the verbal warning and considered the

 Defendant free to go at that time. DE 46 at 30. Thus, any elongation of the stop beyond that point

 must have been supported by reasonable suspicion to satisfy the Fourth Amendment’s mandate.

                                            b. Reasonable Suspicion
        Turning to the extension of the stop, the Supreme Court has held that “a seizure justified

 only by a police-observed traffic violation becomes unlawful if it is prolonged beyond the time


                                                   6
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 7 of 18 - Page ID#: 219




 reasonably required to complete the mission of issuing a ticket for the violation.” Rodriguez, 135

 S. Ct. at 1612 (cleaned up) (citation omitted). In Rodriguez, the Court compared a traffic stop to a

 Terry stop and stated that “the tolerable duration of police inquiries in the traffic-stop context is

 determined by the seizure's ‘mission’—to address the traffic violation that warranted the stop . . .

 .” Id. at 1614 (cleaned up) (citations omitted); see Terry v. Ohio, 88 S. Ct. 1868 (1968). “Authority

 for the seizure thus ends when tasks tied to the traffic infraction are—or reasonably should have

 been—completed; whichever comes first.” Lott, 954 F.3d at 923-24 (quoting Rodriguez and

 Hernandez v. Boles, 949 F.3d 251, 256 (6th Cir. 2020)). The terminal point analysis “is a bright

 line rule.” Lott, 954 F.3d at 924 (quoting Boles, 949 F.3d at 256).

        “A seizure can be extended if ‘something happened during the stop to cause the officer to

 have a reasonable and articulable suspicion that criminal activity is afoot.’” Lott, 954 F.3d at 923

 (quoting United States v. Stepp, 680 F.3d 651, 661 (6th Cir. 2012)). “Reasonable suspicion is more

 than an ill-defined hunch; it must be based upon a particularized and objective basis for suspecting

 the particular person of criminal activity.” United States v. Shank, 543 F.3d 309, 313 (6th Cir.

 2008) (citation, ellipsis, and internal quotation marks omitted). Reasonable suspicion is analyzed

 from a “totality of the circumstances” perspective, by which evidence is viewed “using a common

 sense approach, as understood by those in the field of law enforcement.” United States v.

 Richardson, 385 F.3d 625, 630 (6th Cir. 2004). An officer’s experience and specialized training

 may properly influence the calculus. See Shank, 543 F.3d at 315. A court should not artificially

 view factors in isolation, and the standard is below the probable clause floor. Id.

        Here, the Magistrate Judge relied on two factors to find that Robinson had developed a

 reasonable suspicion of criminal activity during the stop and before its completion: (1) Meadows’s

 nervous demeanor when Robinson approached the car; and (2) the presence of the empty syringe

                                                  7
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 8 of 18 - Page ID#: 220




 in Meadows’s pocket. Relying on Robinson’s interpretation of the syringe, Judge Ingram found

 these “red flags” sufficient to establish reasonable suspicion of criminal activity. DE 43 at 9.

        The Magistrate Judge contrasted the case circumstances with those from United States v.

 Bonilla. In Bonilla, the district court found the following facts sufficient to create reasonable

 suspicion: (1) a nervous appearance and out-of-state license plate, (2) the defendant’s intended

 destination of Columbus, Ohio, (3) the defendant’s statements that he was traveling both “for

 vacation” and “to visit friends,” and (4) that the defendant could not recall the last name of his

 girlfriend of three years. United States v. Bonilla, 357 F. App’x 693, 698 (6th Cir. 2009). The Sixth

 Circuit reversed, finding these factors largely innocuous and thus insufficient to support reasonable

 suspicion. One of those items—nervousness—is also present here, yet of relatively little

 consequence when unaccompanied by other relevant facts. “A driver’s nervousness when stopped

 is often common and, therefore, given little weight.” Id. (citing United States v. Urrieta, 520 F.3d

 569, 577 (6th Cir. 2008) (finding “nervousness inherently unsuspicious”)). Individuals often

 become nervous when stopped by police “even when they have nothing to hide.” Richardson, 385

 F.3d at 631. Nervousness is a pertinent factor, but a reedy, nondispositive one.

        And the syringe? Several matters stand out to the Court. First, the record contains no

 information regarding Robinson’s training. Thus, while accepting that he had been on the force for

 about two and a half years at the time of the stop, the Court has no reason to credit Robinson’s

 “specialized training,” because there is no record of any specialization. See Shank, 543 F.3d at

 315. The Court cannot treat the officer as entitled to deference based on training (or capable of

 detecting things that elude the untrained) where it has no information about training. Robinson’s

 field experience regarding the syringe/diabetes/illegal drugs linkage has some weight. However,

 the most Robinson could say was that he had seen the false-diabetic story “several” (no number)

                                                  8
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 9 of 18 - Page ID#: 221




 times in his short career. Some things undercut the inference. First, Robinson did not link the

 syringe to any particular criminal activity. A syringe could indicate unlawful drug use, though

 less likely trafficking as a logical matter. Robinson did not say what crime he suspected, making

 the analysis more difficult. There is no evidence that Meadows was impaired or that he operated

 his vehicle dangerously, cutting against a use crime. The record does not indicate (either way) that

 the syringe had drugs loaded into it. Further, although Robinson claims a true diabetic would have

 other related gear (like a glucose device and medication pouch) such an empirical claim surely

 calls, as to reliability, for more than a lay policeman meeting an unknown number of actual versus

 false diabetics. Lastly, the fact that Meadows volunteered the needle and gave an innocent

 explanation is a mitigating point in the overall mix.

        Surveying Terry cases for comparison is difficult because the analysis is case specific. 1 In

 the Court’s view, Robinson had one thin and discounted factor (nerves) and one ambiguous factor

 (a syringe). Although Judge Ingram cited “several” red flags, the Court sees only these two.

 Tellingly, Officer Robinson, the master of this stop, did not view the information before him as

 supplying reasonable suspicion. DE 46, at 29 (“I wouldn’t call it reasonable suspicion[.]”). His

 subjective view does not decide things, but given the justificatory reliance on Robinson’s

 purported fake-diabetic linkage, his assessment of the inferential strength matters. Weighing the

 key issue de novo, the Court finds that a single disclosed syringe paired with “inherently

 unsuspicious” nervousness, viewed under the “totality of the circumstances,” is not here enough

 to meet the requirements of the Constitution. See United States v. Marxen, 410 F.3d 326, 329 (6th


 1
   See, e.g., United States v. Garrido, 467 F.3d 971, 982 (6th Cir. 2006) (cataloguing Terry cases);
 United States v. Winters, 782 F.3d 289, 301 (6th Cir. 2015) (“Because the concept of reasonable
 suspicion is somewhat abstract, one determination will seldom be useful precedent for another,
 and our reasonable suspicion cases do not offer a coherent principle that resolves the question we
 face.”) (cleaned up) (citations omitted).
                                                  9
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 10 of 18 - Page ID#: 222




 Cir. 2005) (“In considering all the circumstances, the question is not whether there is a possible

 innocent explanation for each of the factors but whether all of them taken together give rise to

 reasonable suspicion that criminal activity may be afoot.”). Any measurable stop elongation did

 not have the saving power of reasonable suspicion.

                                           c. Consent to the Search

        Having established that no reasonable suspicion existed for the extended detention in this

 case, the only other possible basis for constitutional justification lies in the consent (and its

 circumstances) given by Meadows as to the search. The question of whether consent to a search

 was freely and voluntarily given “is a question of fact to be determined from the totality of all the

 circumstances.” Schneckloth v. Bustamonte, 93 S. Ct. 2041, 2048 (1973). To be valid, consent

 must be “unequivocally, specifically, and intelligently given, uncontaminated by any duress or

 coercion.” United States v. Worley, 193 F.3d 380, 386 (6th Cir. 1999). “The government bears the

 burden of proving, through ‘clear and positive testimony’ that the consent to search was given

 voluntarily.” United States v. Beauchamp, 659 F.3d 560, 570 (6th Cir. 2011) (quoting United

 States v. Salvo, 133 F.3d 943, 953 (6th Cir. 1998)). Courts should consider the age, intelligence,

 and education of the suspect; whether the suspect understands the right to refuse consent, the length

 and nature of the detention; and the use of coercive or punishing conduct by the police in

 determining whether the consent was voluntary. Bustamonte, 93 S. Ct. at 2047. The parties did

 not separately litigate the voluntariness issue, but Meadows’s motion targeted the Rodriguez rule

 not coerciveness yielding consent.

         Even assuming that the consent was voluntary, the Court must still determine whether

 illegal detention tainted the consent. See Beauchamp, 659 F.3d at 573. The Sixth Circuit has

 repeatedly held that “evidence obtained pursuant to the consent to search must be suppressed” if

                                                  10
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 11 of 18 - Page ID#: 223




 “the consent was given after an illegal seizure.” Id.; see also United States v. Lopez-Arias, 344

 F.3d 623, 629 (6th Cir. 2003). “[F]or the seized evidence to be admissible, not only must the

 consent be valid but the causal chain between the illegal seizure and the consent must be broken

 to avoid the consequences of the exclusionary rule.” Beauchamp, 659 F.3d at 573 (cleaned up)

 (quoting Lopez-Arias, 344 F.3d at 629). The stain of an unconstitutional seizure may be cleansed

 when the defendant’s consent is the “the product of an intervening act of free will.” United States

 v. Grant, 920 F.2d 376, 388 (6th Cir. 1990). Factors to be considered in this analysis include the

 length of time between the illegal seizure and the consent, the presence of intervening

 circumstances, the purpose and flagrancy of the official misconduct, and (if applicable) whether

 the officers read the suspect his Miranda rights before he consented. See Kaupp v. Texas, 123 S.

 Ct. 1843, 1847 (2003).

        Here, there was no temporal gap between the illegal detention and the consent request.

 Indeed, the very foundation of the illegal detention was Robinson’s post-stop colloquy aimed

 specifically toward gaining Meadows’s consent. There also were no intervening circumstances

 here; Robinson handed Meadows his documents and immediately began discussing drugs on the

 highway followed by the investigational query and request to search. The third factor is the most

 relevant here, largely because of Robinson’s consistent practice of asking for consent to search a

 vehicle without respect to any basis for a lengthened stop. Plainly, Robinson has a strategic and

 regular design, and “the purpose of the [detention] seems to be ‘investigatory,’ undertaken as an

 ‘expedition for evidence in the hope that something might turn up.’” Beauchamp, 659 F.3d at 574

 (citing Brown v. Illinois, 95 S. Ct. 2254, 2262 (1975)). Robinson testified that he very frequently

 recites his spiel about drug trafficking on I-75 and does so “to make people aware” of why he asks

 for consent to the search. The Officer acted in the belief that he did not have reasonable suspicion,


                                                  11
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 12 of 18 - Page ID#: 224




 which further shows the direct relationship between the Rodriguez violation and the tainted

 consent. The Court sees no daylight between the decision to elongate the stop and the immediately

 secured consent to search. The first taints the contemporaneous second. 2

        The Government weaves in, as a last redoubt, 3 the notion that Robinson did not violate

 Rodriguez because the interaction between Robinson and Meadows had become “consensual” by



 2
   See United States v. Palomino-Chavez, 761 F. App'x 637, 644 (7th Cir. 2019) (“Here, the first
 two factors are dispositive. We have already determined Palomino-Chavez was illegally seized.
 That illegality was ‘ongoing’ when he gave his consent, thus ‘foreclosing the possibility that the
 consent was sufficiently attenuated from the unlawful conduct as to purge the taint.’”). United
 States v. Johnson, 427 F.3d 1053, 1057 (7th Cir. 2005); see also McGann v. Northeast Ill. Reg.
 Commuter RR Corp., 8 F.3d 1174, 1184 (7th Cir. 1993) (“When statements and conduct
 evidencing consent to a search are given contemporaneously with the illegal seizure, with no
 break in the causal chain, the actions of the person seized are not free from the taint of
 the unlawful detention and are thus insufficient to show consent.”); 4 Search & Seizure § 9.3(e)
 (6th ed.) (“Of course, obtaining consent to a search can hardly be deemed a part of the ‘mission’
 of a traffic stop, as discussed in Rodriguez v. United States, and thus ought to be a basis for
 suppression should it ‘measurably extend the duration of the stop.’”).
 3
   The cases centrally cited by the United States in its objection brief are all pre-Rodriguez and
 distinguishable from the instant case. In Ohio v. Robinette, the Supreme Court held only that a
 police officer’s subjective intent in stopping a vehicle is largely irrelevant to a finding of
 probable cause and that voluntariness of consent does not require, per se, that a motorist be told,
 post-stop, that he is free to leave. 117 S. Ct. 417, 420 (1996). The decision in Robinette did not
 hold that consent cures an illegal detention; stop-elongation was not addressed. In Burton, the
 officer promptly asked Burton, parked illegally, for consent to search. United States v. Burton,
 334 F.3d 514, 516 (6th Cir. 2003). The Sixth Circuit found the question and sequence reasonable
 under the circumstances and related to the officer’s safety in the situation. Id. at 517-19.
 Importantly, it did not find that the officer required no reasonable basis to ask for a consent to
 search Burton or his vehicle before the mission of the stop concluded. The officer never got to
 stop finality in Burton. Finally, in Aguilera-Pena the officer asked if there was illegal contraband
 in the vehicle, noticed nervous behavior, and asked for consent to search, which was given.
 United States v. Aguilera-Pena, 426 F. App’x 368, 369 (6th Cir. 2011). The Court, though at one
 point finding no “unnecessarily prolonged . . . detention,” held that “[o]nce the initial stop was
 lawfully completed, the extraneous questions were appropriate, as was the request for consent to
 search the car.” Id. at 371. The continued validity of this holding is in serious doubt following
 Rodriguez’s command that “[a] seizure justified only by a police-observed traffic violation,
 therefore, becomes unlawful if it is prolonged beyond the time reasonably required to complete
 the mission of issuing a ticket for the violation.” Rodriguez, 135 S. Ct. at 1612 (cleaned up)
 (citation omitted). None of these cases changes the outcome here.
                                                 12
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 13 of 18 - Page ID#: 225




 the time Meadows allowed the search. DE 47, at 1 (“the encounter had . . . become consensual”).

 Robinson himself held the view. DE 46 at 25, 37. This theory does exist in the cases, and a stop,

 given the right attributes, can morph into a consensual encounter. See, e.g., United States v. Triana,

 760 F. App'x 768, 772 (11th Cir. 2019) (“This Court, however, has recognized two limited

 exceptions to [the Rodriguez] rule: first, when officers have an ‘objectively reasonable and

 articulable suspicion that illegal activity has occurred or is occurring’; and second, if the facts

 indicate that ‘the initial detention has become a consensual encounter.’) (citation omitted).

        The Tenth Circuit outlines its analysis:

                The fundamental question we ask in these cases is whether “a reasonable
        person under the circumstances would believe [he] was free to leave or disregard
        the officer's request for information.” United States v. Bradford, 423 F.3d 1149,
        1158 (10th Cir. 2005) (quoting United States v. Elliott, 107 F.3d 810, 814 (10th Cir.
        1997)). We follow a bright-line rule that requires the driver's documents to be
        returned before the stop may be considered a consensual encounter, recognizing
        that merely handing back documents is not “always sufficient to demonstrate that
        an encounter has become consensual.” Bradford, 423 F.3d at 1158. Factors that we
        have found relevant to our analysis include:
                the location of the encounter, particularly whether the defendant is
                in an open public place where he is within the view of persons other
                than law enforcement officers; whether the officers touch or
                physically restrain the defendant; whether the officers are uniformed
                or in plain clothes; whether their weapons are displayed; the
                number, demeanor and tone of voice of the officers; whether and for
                how long the officers retain the defendant's personal effects such as
                tickets or identification; and whether or not they have specifically
                advised defendant at any time that he had the right to terminate the
                encounter or refuse consent.
        United States v. Spence, 397 F.3d 1280, 1283 (10th Cir. 2005) (quoting United
        States v. Zapata, 997 F.2d 751, 756–57 (10th Cir. 1993)). While this list is not
        exclusive and no one factor is dispositive, we focus on “the coercive effect of police
        conduct, taken as a whole on a reasonable person.” Id.
 United States v. Gomez-Arzate, 981 F.3d 832, 842 (10th Cir. 2020), cert. denied, 141 S. Ct. 2572

 (2021), and cert. denied sub nom. Martinez-Torres v. United States, 141 S. Ct. 2837 (2021).



                                                   13
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 14 of 18 - Page ID#: 226




        The Sixth Circuit has not announced a similar list of factors in the precise context but has

 found nonconsensual encounters in circumstances comparable to those identified by the Tenth

 Circuit. See, e.g., United States v. Williams, 615 F.3d 657, 664 (6th Cir. 2010) (finding a seizure

 partially because the officers were “in uniform and arrived in a marked police car”); United States

 v. Johnson, 620 F.3d 685, 690-91 (6th Cir. 2010) (“A reasonable person in Johnson's position

 would not have felt free to leave when the officers ordered him to stop. There were two officers,

 they had arrived in marked police cars, they announced themselves as police several times, and

 they yelled at Johnson to ‘stop’ and ‘stay right there where he was’ as they advanced toward him

 in the dead of night.”); United States v. Lewis, 843 F. App’x 683, 688 (6th Cir. 2021) (“Examples

 of circumstances that indicate a seizure include ‘the threatening presence of several officers, the

 display of a weapon by an officer, some physical touching of the person of the citizen, or the use

 of language or tone of voice indicating that compliance with the officer's request might be

 compelled.’”) (citing United States v. Mendenhall, 446 U.S. 544, 554 (1980)); United States v.

 McCall, 433 F. App’x 432, 437 (6th Cir. 2011) (“Our court has further elaborated factors for

 determining whether a person would feel free to leave: ‘(1) [T]he purpose of the questioning; (2)

 whether the place of the questioning was hostile or coercive; (3) the length of the questioning; and

 (4) other indicia of custody such as . . . whether the suspect possessed unrestrained freedom of

 movement during questioning; and whether the suspect initiated contact with the police . . . .’”)

 (citing United States v. Swanson, 341 F.3d 524, 529 (6th Cir. 2003)).

        The Court finds that the Robinson-Meadows interaction, unquestionably rooted in a

 seizure, did not transform into a consensual encounter at the end of the stop. To be clear, Robinson

 stopped Meadows at 1 a.m. on the side of I-75. Robinson almost immediately got Meadows’s

 papers and then removed Meadows from the car and took him to the rear of the vehicle. Nearly as


                                                 14
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 15 of 18 - Page ID#: 227




 soon as that occurred, within mere minutes, Robinson returned the papers and gave Meadows the

 verbal admonition. Robinson then, missing no beats, launched into his scripted drug-trafficking

 declamation, asked Meadows if he had contraband, and asked Meadows for consent to search. He

 did not tell Meadows the stop was over or that Meadows could leave. He did not communicate,

 verbally or otherwise, that the stop had concluded. Rather, Robinson seamlessly moved from the

 stop mission to an investigatory mode, describing serious crime and then questioning Meadows

 about his own potential culpability and involvement. No reasonable person, removed from his car,

 at 1 a.m., on the side of I-75, under the control of a uniformed policeman, stopped by a cruiser,

 facing the circumstances of this interaction, would feel free to unilaterally break off contact and

 depart. The situation was dark, isolated, and without witnesses (save the passenger). Robinson

 reported that twenty-five people have refused him consent in these circumstances. He did not

 report that anyone had simply walked away without participating in the consent colloquy.

        That Robinson did not tell Meadows he could go is not dispositive but surely is a factor.

 The Supreme Court itself has stated, “Certainly few motorists would feel free either to disobey a

 directive to pull over or to leave the scene of a traffic stop without being told they might do so.”

 Berkemer v. McCarty, 104 S. Ct. 3138, 3148 (1984); see also Arizona v. Johnson, 129 S. Ct. 781,

 788 (2009) (“Normally, the stop ends when the police have no further need to control the scene,

 and inform the driver and passengers they are free to leave.”); United States v. Branch, 537 F.3d

 582, 588 (6th Cir. 2008) (noting, as part of seizure analysis, undisputed proof that officer “told

 him [defendant] he was free to leave after receiving the warning ticket and his driver’s license”).

 Express permission is not a per se requirement for a stop to end, but the Court must sift the

 circumstances for what a reasonable motorist here would perceive.




                                                 15
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 16 of 18 - Page ID#: 228




        To the Court, looking at all circumstances, only a person with the rarest temerity would

 simply walk away here before getting some type of leave, some type of reasonable concluding

 signal, from the officer in control. Robinson claims the interaction instantly pivoted from one of

 seizure to one of consent. That may be his subjective view, as the authority controlling the

 sequence and events. The Court rejects the theory that any reasonable stop target would share the

 view. Meadows remained seized at the time of the consent colloquy.

                                           d. Good Faith Exception

        Finally, the remedy. The Supreme Court has explained that the exclusionary rule is “not

 able to ‘cure the invasion of the defendant’s rights which he has already suffered.’” United States

 v. Leon, 104 S. Ct. 3405, 3412 (1984). The rule is a judicial remedy “designed to safeguard Fourth

 Amendment rights generally through its deterrent effect.” United States v. Calandra, 94 S. Ct. 613,

 618 (1974). “[T]he exclusionary rule serves to deter deliberate, reckless, or grossly negligent

 conduct, or in some circumstances recurring or systemic negligence.” Herring v. United States,

 129 S. Ct. 695, 702 (2009). The remedy is not an automatic consequence of a Fourth Amendment

 violation and applies only when the benefits of deterrence outweigh the costs of exclusion. See

 Leon, 104 S. Ct. at 3412. The Supreme Court has rejected application of the exclusionary rule

 where there was good faith reliance on a defective warrant, Leon, 104 S. Ct. 3405, where there

 was good-faith reliance on a statute later declared unconstitutional, Illinois v. Krull, 107 S. Ct.

 1160 (1987), and where a police officer relied in good-faith on mistaken information, Arizona v.

 Evans, 115 S. Ct. 1185 (1995). Further, the Court has “effectively created a balancing test by

 requiring that in order for a court to suppress evidence following the finding of a Fourth

 Amendment violation, ‘the benefits of deterrence must outweigh the costs.’” United States v.




                                                 16
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 17 of 18 - Page ID#: 229




 Master, 614 F.3d 236, 243 (6th Cir. 2010) (citing Herring, 129 S. Ct. at 700). This not a case of

 good faith reliance on mistaken information, case law, or a defective warrant.

        Robinson violated Meadows’s rights here. The Court concedes that the temporal reality

 (that the stop, in toto, spanned merely three to four minutes, pre-consent), ameliorates. However,

 Rodriguez was clear to reject the concept of de minimis delay as an elongation loophole.

 Rodriguez, 135 S. Ct. at 1615-16. Still, the particularly troubling circumstance here is Robinson’s

 modus operandi. His regular practice is to append the consent colloquy to traffic stops. Robinson

 staked no reliance on cause; rather, he leaned on the concept of a consensual encounter dovetailing

 with the stop. Further, the numbers figure into the Herring/Davis balancing test. Robinson stops

 twenty citizens per week. He has given forty-two written warnings in 2021. He claims that twenty-

 five times, in 2021, a motorist has declined consent in this post-stop planned colloquy. 4 The record

 does not reveal the actual number of times Robinson has pursued his strategy. Presumably, some

 of those might have included situations with a proper Terry basis. However, given that Robinson

 focuses not on his justification but rather on the consensual putative tone of the post-stop dynamic,

 the Court has grave concern about the reach and effect of the Officer’s systematic approach.

        Some might see the improper, but brief, extension of a traffic stop, for just a few moments

 of discussion and questioning, as a minor encroachment, mere pennies added to the bill. The Court

 instead sees a trespass of constitutional import, a significant and measurable step across the right




 4
   Given the statistics on the number of persons that typically grant consent, this unknown number
 is frightful. See Roseanna Summers, Vanessa K. Bohns, The Voluntariness of Voluntary
 Consent: Consent Searches and the Psychology of Compliance, 128 YALE L. J. 1962, 2007
 (2019) (finding that about 90% of individuals will hand over their phone when asked by a person
 of some authority and comparing to a study done surveying automobile drivers in which
 researchers found that “between 85-90% [of drivers] consent to searches of their vehicle [by
 police]”).
                                                  17
Case: 6:21-cr-00027-REW-HAI Doc #: 50 Filed: 10/13/21 Page: 18 of 18 - Page ID#: 230




 boundaries of government that weakens the freedoms of all involved. Suppression is warranted to

 deter this practice—one Robinson systemically implements as citizens pass his watch in London. 5

                                         IV.    Conclusion
         For the foregoing reasons, the Court GRANTS DE 31 and REJECTS as stated the

 conclusion in DE 43.

        This the 13th day of October, 2021.




 5
   Though not litigated, the Court views Robinson’s handling of Grubb’s purse as problematic and
 a negative procedural signal. Meadows purportedly gave Robinson unbounded consent to search
 the vehicle. Robinson took that and used it to search the purse of Grubb, the passenger. See DE
 46, at 21 (“I found Ms. Grubb’s purse. Inside of the purse was several syringes.”). Typically,
 consent hinges on authority, and the law would not validate a driver’s consent to search the
 closed bag of a passenger. See United States v. Humphrey, 30 F. App'x 596, 601 (6th Cir. 2002).
 Robinson did not get permission from Grubb. DE 46, at 40. This vignette simply is part of the
 record and, to the Court, a useful data point in the calculus.

                                               18
